Case 2:03-cr-20102-SH|\/| Document 34 Filed 05/17/05 Page 1 of 2 Page|D 35

   

IN THE UNITED STATES DISTRICT COURT [il.ED 13?`,_"_` _

 

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FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION QSN§Y§? PM]:QE
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UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 03-20102-Ma

VS.

SHYRETTE JOHNS ON ,

~._/`_/-_/~_/~._/~__/-__/~__/~__/

Defendant.

 

ORDER ON CONTIN'UANCE AND SPECIFYING PERIOD OF EX.CLUDABLE DELAY

 

This cause came on for a report date on April 21, 2005.
Defense Counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case and to
allow for the disposition of the pending Motion to Suppress.

The Court granted the request and continued the trial date to
the rotation docket beginning June 6, 2005 at 9:30 a.m., with a
report date of Tuesday, May 31, 2005 at 2:00 p.m.

The period from April 21, 2005 through June l7, 2005 is
excludable under 18 U.S.C. §§ 3161(h)(8)(B)(iv) and 316l(h)(l)(F)
because the interests of justice in allowing additional time to
prepare and the need to dispose of the pending motion outweigh the
need for a speedy trial.

L day of May, 2005_

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mezcb)F“CYP°“ sAMUEL H. MAYS, JR.

UNITED S'I'ATES DISTRIC'I' JUDGE
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IT IS SO ORDERED this

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This notice confirms a copy of the document docketed as number 34 in
case 2:03-CR-20102 Was distributed by faX, mail, or direct printing on
May ]9, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

